IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS
FAYETTEVILLE DIVISION

JILL DILLARD; JESSA SEEWALD;
JINGER VUOLO; and JOY DUGGAR PLAINTIFFS

V. CASE NO. 5:17-CV-5089

CITY OF SPRINGDALE, ARKANSAS;
WASHINGTON COUNTY, ARKANSAS;

KATHY O’KELLEY, in her individual and
official capacities; ERNEST CATE, in his
individual and official capacities; RICK HOYT,
in his individual and official capacities;

STEVE ZEGA, in his official capacity;

BAUER PUBLISHING COMPANY, L.P.;

BAUER MAGAZINE, L.P.; BAUER MEDIA
GROUP, INC.; BAUER, INC.; HEINRICH BAUER
NORTH AMERICA, INC.; BAUER MEDIA GROUP

USA, LLC; and DOES 1-10, inclusive DEFENDANTS
and

JOSHUA DUGGAR . PLAINTIFF

Vv. CASE NO. 5:17-CV-5125

CITY OF SPRINGDALE, ARKANSAS;
WASHINGTON COUNTY, ARKANSAS;

THE STATE OF ARKANSAS, DEPARTMENT
OF HUMAN SERVICES; DOUG SPROUSE, in
his official capacity; KATHY O’KELLEY, in
her official and individual capacities;

ERNEST CATE, in his official capacity; RICK
HOYT, in his official capacity; STEVE ZEGA,
in his official capacity, BAUER PUBLISHING
COMPANY, L.P.; BAUER MAGAZINE, L.P.;
BAUER MEDIA GROUP, INC.; BAUER, INC.;
HEINRICH BAUER NORTH AMERICA, INC.;
BAUER MEDIA GROUP USA, LLC; CROSS,
GUNTER, WITHERSPOON & GALCHUS, P.C.;
and DOES 1-10, inclusive DEFENDANTS
MEMORANDUM OPINION AND ORDER

Currently before the Court in the case of Dillard et al. v. City of Springdale et al.,

Case No. 5:17-cv-5089 (“the Dillard Case”), are:

the Motion to Dismiss (Doc. 43), Memorandum of Law in Support (Doc. 44), and
Declaration of Elizabeth A. McNamara in Support (Doc. 45), filed by Defendants
Bauer Publishing Company, L.P., Bauer Magazine, L.P., Bauer Media Group, Inc.,
Bauer, Inc., Heinrich Bauer North America, Inc., and Bauer Media Group USA,
LLC (collectively, “the Bauer Defendants”); the Response in Opposition (Doc. 54)
filed by Plaintiffs Jill Dillard, Jessa Seewald, Jinger Vuolo, and Joy Duggar
(collectively, “the Dillard Plaintiffs”); and the Bauer Defendants’ Reply (Doc. 58);
the Motion to Consolidate (Doc. 41) and Brief in Support (Doc. 42) filed by
Defendants City of Springdale (“the City”), Ernest Cate in his official and individual
capacities, and Kathy O’Kelley in her official and individual capacities (collectively,
“the Dillard Springdale Defendants’); the Bauer Defendants’ Motion to Consolidate
(Doc. 48); the Dillard Plaintiffs’ Response in Opposition (Doc. 49) to both Motions
to Consolidate; and the Dillard Springdale Defendants’ Reply (Doc. 52); and

the Bauer Defendants’ Motion to Stay (Doc. 46) and Memorandum of Law in
Support (Doc. 47); Plaintiffs’ Response in Opposition (Doc. 53); and the Bauer

Defendants’ Reply (Doc. 59).

Also currently before the Court in the case of Duggar v. City of Springdale et al., Case.

No. 5:17-cv-5125 (“the Duggar Case’), are:

the Bauer Defendants’ Motion to Dismiss (Doc. 40}, Memorandum of Law in

Support (Doc. 41), and Declaration of Elizabeth A. McNamara in Support (Doc.
42); Plaintiff Joshua Duggar’s Response in Opposition (Doc. 54); and the Bauer
Defendants’ Reply (Doc. 58);

e the Motion to Dismiss (Doc. 33) and Brief in Support (Doc. 34) filed by Defendant
Cross Gunter Witherspoon & Gaichus, P.C. (“Cross Gunter’); Plaintiff Joshua —
Duggar’s Response in Opposition (Doc. 48); and Cross Gunter’s Reply (Doc. 53);

e the Motion to Dismiss (Doc. 15) and Brief in Support (Doc. 16) filed by Defendants
City of Springdale (“the City”), Doug Sprouse in his official capacity, Kathy O’Kelley
in her official and individual capacities, and Ernest Cate in his official capacity
(collectively, “the Duggar Springdale Defendants”); Plaintiff Joshua Duggar’s
Response in Opposition (Doc. 30); and the Duggar Springdale Defendants’ Reply
(Doc. 37);

e the Motion to Dismiss (Doc. 25) and Brief in Support (Doc. 26) filed by Defendants
Washington County (‘the County”), Rick Hoyt in his official capacity, and Steve
Zega in his official capacity (collectively, “the Duggar Washington County
Defendants”); and Plaintiff Joshua Duggar’s Response in Opposition (Doc. 31);
and

° the Duggar Springdale Defendants’ Motion to Consolidate (Doc. 17) and Brief in
Support (Doc. 18); the Bauer Defendants’ Motion to Consolidate (Doc. 27); Plaintiff
Joshua Duggar’s Response in Opposition to both Motions to Consolidate (Doc.
29); and the Duggar Springdale Defendants’ Reply (Doc. 38).

For the reasons given below, the aforementioned Motions to Dismiss are all GRANTED,

and all of the other aforementioned Motions are MOOT.
|. BACKGROUND

These two lawsuits arise out of essentially the same set of alleged facts and
circumstances. The Dillard Case was filed in this Court on May 18, 2017, by the Dillard
Plaintiffs, who are all sisters. The Duggar Case was filed in this Court on July 6, 2017,
by the Dillard Plaintiffs’ older brother, Joshua Duggar. Although there are some
differences between the two Complaints with respect to the finer details of their factual
allegations, as well as with respect to the identities of some Defendants, both Complaints
revolve around the same general series of allegations, which the Court will summarize
here as contexter what follows. ne

Both Complaints allege that in 2015, the Bauer Defendants caused stories to be
published in a web and print media tabloid publication called “In Touch Weekly,” about an
investigation that had been conducted nearly a decade earlier by the Springdale Police
Department and the Washington County Sheriffs Office into allegations that Joshua
Duggar had sexually molested the Dillard Plaintiffs while he and they were all minors.
Both Complaints allege that the Bauer Defendants published official reports of these
investigations that had been obtained from the City and County pursuant to Freedom of
Information Act ("FOIA") requests, which had been submitted to the City and County by
the Bauer Defendants’ lawyers at Cross Gunter. Both Complaints allege that the City’s
and County’s FOIA responses were underredacted, such that once they were published
by the Bauer Defendants, it was easy for readers to infer that the Dillard Plaintiffs were
among Joshua Duggar’s victims.

Both Complaints bring four tort claims against each of the Bauer Defendants: three

for various types of Invasion of Privacy, and one for Outrage. The Bauer Defendants
have filed motions to dismiss these claims in both cases, arguing (among other things) |
that it would violate the First Amendment for them to be held liable for these activities.
The Court will rule on both of these motions below. |

Additionally, and unlike in the Dillard Case, the Duggar Complaint brings one claim
against Cross Gunter, for the tort of Invasion of Privacy. Cross Gunter has filed a motion
to dismiss that claim, which the Court will rule on below.

Both Complaints bring claims against their respective Springdale and Washington
County Defendants for alleged violations of the Plaintiffs’ federal and state constitutional
due-process rights-of privacy, along with tort claims for Invasion of Privacy and Outrage.
The Springdale and Washington County Defendants filed motions to dismiss in both
cases, asserting (among other things) that they were entitled to various types of immunity.
The Court has already ruled in a prior order on the Dillard Springdale and Washington
County Defendants’ motions to dismiss, granting them in part and denying them in part.
The Court will rule on the Duggar Springdale and Washington County Defendants’
motions to dismiss below.

In both cases, a variety of Defendants have filed motions asking this Court to
consolidate the two cases or to stay the proceedings in some manner. The Court will
take up these motions at the end of this Opinion and Order.

But first the Court will rule on the aforementioned motions to dismiss. After reciting
the legal standard applicable to such motions, the Court will begin with the Bauer
Defendants’ motions to dismiss. Then it will turn to Cross Gunter’s motion to dismiss,
before ruling on the Duggar Springdale and Washington County Defendants’ motions to

dismiss.
Il. LEGAL STANDARD FOR MOTIONS TO DISMISS

To survive a Rule 12(b)(6) motion to dismiss, a complaint must provide “a short
and plain statement of the claim showing that the pleader is entitled to relief.” Fed. R.
Civ. P. 8(a)(2). The purpose of this requirement is to “give the defendant fair notice of
what the .. . claim is and the grounds upon which it rests.” Erickson v. Pardus, 551 U.S.
89, 93 (2007) (quoting Bell Ati. Corp. v. Twombly, 550 U.S. 544, 555 (2007)). The Court
must accept all of the Complaint’s factual allegations as true, and construe them in the
light most favorable to the plaintiff, drawing all reasonable inferences in the plaintiff's
favor. See Ashley Caty.; Ark. v. Pfizer, Inc., 552 F.3d 659, 665 (8th Cir. 2009).

However, the Complaint “must contain sufficient factual matter, accepted as true,
to ‘state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662,
678 (2009) (quoting Twombly, 550 U.S. at 570). “A claim has facial plausibility when the
plaintiff pleads factual content that allows the court to draw the reasonable inference that
the defendant is liable for the misconduct alleged.” /d. “A pleading that offers ‘labels and
conclusions’ or ‘a formulaic recitation of the elements of a cause of action will not do.’
Nor does a complaint suffice if it tenders ‘naked assertion[s]’ devoid of ‘further factual
enhancement.” /d. In other words, while “the pleading standard that Rule 8 announces
does not require ‘detailed factual allegations,’ . . . it demands more than an unadorned,
the defendant-unlawfully-harmed-me accusation.” /d.

lil. DISCUSSION
A. The Bauer Defendants’ Motions to Dismiss
It is rare that this Court is presented with a motion to dismiss that may be resolved

simply by citing to a solitary controlling Supreme Court case. But that is essentially the
situation here with respect to the Bauer Defendants’ Motions to Dismiss. In Florida Star
v. B.J.F., the United States Supreme Court reaffirmed that the First Amendment requires
that “if a newspaper lawfully obtains truthful information about a matter of public
significance then state officials may not constitutionally punish publication of the
information, absent a need to further a state interest of the highest order.” 491 U.S. 524,
533 (1989) (quoting Smith v. Daily Mail Pub. Co., 443 U.S. 97, 103 (1979)) (alterations
omitted).
In that case, a local police department had inadvertently included a rape victim's
name in a report that was-made publicly available in a police station press room. See id.
at 527. A newspaper then published the name of that rape victim in an article, in
contravention of not only a Florida statute but also the newspaper's own internal policies.
See id. at 527-28. The victim sued the newspaper and won a verdict at trial, but the
Supreme Court reversed. See id. at 528-29. The Court reasoned that the published
information was true, id. at 536, that it was obtained lawfully, id., and that the newspaper
was entitled to presume that it was on a matter of public significance since it concerned
a crime and was information that the police department saw fit to disclose in the first place,
see id.; cf. id. at 535 (‘[W]here the government has made certain information publicly
available, it is highly anomalous to sanction persons other than the source of its release.
. By placing the information in the public domain on official court records, the State
must be presumed to have concluded that the public interest was thereby being served.”
(internal quotation marks omitted)). Similarly, the Court found that imposing liability on
the newspaper in question was not a “narrowly tailored” means of effectuating “a state

interest of the highest order,” see id. at 541, since “the government itself provide[d] [the]
information to the media,” see id. at 538. “Where, as here, the government has failed to
police itself in disseminating information, it is clear... that the imposition of damages
against the press for its subsequent publication can hardly be said to be a narrowly
tailored means of safeguarding anonymity.” /d.

Here, in the Dillard and Duggar cases, none of the Plaintiffs allege that the Bauer
Defendants ever published untruthful information about them. They acknowledge that
the Bauer Defendants submitted FOIA requests to the City and the County, and that the
Springdale and Washington County Defendants provided the reports of the police
investigation pursuant to-those FOIA requests. Under the reasoning of Florida Star, the
Bauer Defendants were entitled to assume that the information contained therein was a
matter of public significance, since it was disclosed by public entities pursuant to a statute
that is explicitly designed to effectuate a public policy in favor of disclosing public records.
And even if one assumes that the disclosures failed to comply with Arkansas statutory
redaction requirements, Florida Star is clear that the Bauer Defendants cannot be held
liable for the City’s and County’s failure to follow the law. Although the Court in Florida
Star was very careful to emphasize that its holding was ‘relying on limited principles that
sweep no more broadly than the appropriate context of the instant case,” jd. at 533, that
“appropriate context” is so strongly analogous to the facts alleged in the Dillard and
Duggar Complaints that this Court believes it cannot permit the Bauer Defendants to be
held liable for their conduct here without defying binding Supreme Court precedent.
Accordingly, the Bauer Defendants’ Motions to Dismiss will be GRANTED in both the
Dillard and Duggar cases, and all of the Plaintiffs’ claims against them will be DISMISSED

WITHOUT PREJUDICE.
B. Cross Gunter’s Motion to Dismiss

. The Court turns now to Plaintiff Joshua Duggar’s sole claim against Cross Gunter,
which is for the form of Invasion of Privacy known as “Public Disclosure of Private Fact.”
As this Court previously discussed in its Opinion and Order on the Dillard Springdale and
Washington County Defendants’ motions to dismiss, it is not entirely clear what the
elements of this tort are under Arkansas law. See Dillard et al. v. City of Springdale et
al., 2017 WL 4392049, at *9 & nn.9—-10 (W.D. Ark. Sep. 29, 2017) (comparing the
elements in Restatement (Second) of Torts § 652D with those in AMI Civil § 422).
However, it is clear enough that at a minimum—and at the risk of stating the obvious—
the public disclosure at issue must be of a “private fact.” See id.

The Arkansas FOIA states that, subject to certain exemptions, “all public records
shall be open to inspection and copying by any citizen of the State of Arkansas during the
regular business hours of the custodian of the records.” Ark. Code Ann. § 25-19-
105(a)(1)(A). Here, Cross Gunter is alleged to have submitted FOIA requests for such
public records to the City and the County, to have expressed its opinion to the City and
County as to why it was entitled to them under law, and then to have passed the City's
and County’s responses along to its clients. See Case No. 5:17-cv-5125, Jf] 6, 24, 40.
The Court is unaware of any caselaw addressing this point, but does not see how
information can possibly be considered “private” for purposes of this tort if “any citizen of
the State of Arkansas” may obtain it simply by requesting copies from the same City and
County that gave copies to Cross Gunter. And if a public entity is disseminating private
information because it is erroneously concluding that no FOIA exemption applies to it,

then it seems to the Court that the public entity in question would be the one publicizing
private facts—not the parties it is disseminating them to. Accordingly, Cross Gunter's
Motion to Dismiss will be GRANTED, and Plaintiff Joshua Duggar’s claim against it will
be DISMISSED WITHOUT PREJUDICE.

C. The Springdale and Washington County Defendants’ Motions to Dismiss

The last two Motions to Dismiss to take up here are those filed by the Duggar
Springdale and Washington County Defendants. As already mentioned above, the Court
recently granted in part and denied in part motions to dismiss that were filed by the Dillard
‘Springdale and Washington County Defendants, which advanced nearly identical
arguments to those found in tee instant Motions. Here, as before, the parties have-briefed
many very complicated issues regarding various forms of sovereign immunity. However,
unlike before, the Court does not believe it is necessary to delve into the murky morass
of immunity issues this time, because unlike the Dillard Plaintiffs, Plaintiff Joshua Duggar
has failed to plead sufficient facts to state any claims against any of the Springdale and
Washington County Defendants.

A critical difference between the two cases is that while the Dillard Complaint
alleged that the Dillard Plaintiffs’ identities as Joshua Duggar’s victims “were not in the
public record before the FOIA disclosures were made,” Dillard et al. v. City of Springdale
et al., 2017 WL 4392049, at *6 (W.D. Ark. Sep. 29, 2017), the same cannot be said for
Joshua Duggar’s role in the alleged offense. The Duggar Complaint acknowledges that
In Touch Weekly published a story about Joshua Duggar having been “Named” in a
“Underage Sex Probe” before any of the Springdale or Washington County Defendants

made any FOIA disclosures to Cross Gunter or the Bauer Defendants. See Case No.

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5:17-cv-5125, Doc 1, Jf 50, 51. This fact alone is fatal to nearly all of Joshua Duggar’s
claims against the Springdale and Washington County Defendants.

He brings federal and state constitutional claims against these Defendants, all of
which are premised on the notion that the FOIA disclosures violated his due-process right
to privacy. But an essential element of those claims, just as with the Invasion of Privacy
tort of Public Disclosure of Private Facts (which he also brings against them), is that the
disclosures publicize matters that are not already in the public record. See McNally v.
Pulitzer Pub. Co., 532 F.2d 69, 77-79 (8th Cir. 1976). “There is no liability when the
defendant merely gives further publicity to information about the plaintiff which is already
public.” /d. at 78 n.12 (quoting Restatement (Second) of Torts § 652D, comment c (Tent.
Draft No. 13, 1967)). Similarly, an essential element of his claim against these
Defendants for the Invasion of Privacy tort of Intrusion upon Seclusion requires that the
Plaintiff's “solitude or seclusion” be intruded upon. See Coombs v. J.B. Hunt Transport,
Inc., 2012 Ark. App. 24, at *4. And again, given that an article detailing his role in the
offense had already been published, the allegations against Joshua Duggar cannot be
said to have been a topic of “seclusion” for him at the time the FOIA disclosures were
made.

Joshua Duggar’s only other claim against the Springdale and Washington County
Defendants is for the tort of Outrage. Unlike his other claims against them, this one does
not have any elements explicitly premised on the privacy of information. Rather, its
elements are as follows:

(1) the actor intended to inflict emotional distress or knew or should have

known that emotional distress was the likely result of his conduct; (2) the

conduct was extreme and outrageous, beyond all possible bounds of
decency, and was utterly intolerable in a civilized community; (3) the actions

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of the defendant were the cause of the plaintiff's distress; (4) the emotional

distress sustained by the plaintiff was so severe that no reasonable person

could be expected to endure it.

Rees v. Smith, 2009 Ark. 169, at *5. “The test for outrage is an extremely narrow test
that is committed by the most heinous conduct.” Forrest City Mach. Works, Inc. v.
Mosbacher, 312 Ark. 578, 585 (1993). As this Court previously observed when ruling on
the Dillard Springdale and Washington County Defendants’ motions to dismiss, “[w]hen
evaluating the egregiousness of the conduct at issue, the Court must be ‘[mJindful of the
importance in which our society and the... law has held’ the interest of which that conduct
has run afoul.” Dillard et al. v. City of Springdale et al., 2017 WL 4392049, at *11 (W.D.
Ark. Sep. 29, 2017) (quoting Travelers Ins. Co. v. Smith, 338 Ark. 81, 92 (1999)).

In the Dillard Case, the Court denied the Springdale and Washington County
Defendants’ motions to dismiss the Plaintiffs’ claim for Outrage, focusing its analysis on
our society's and the law’s interest in protecting minor victims of sexual assault. However,
with respect to Plaintiff Joshua Duggar’s claim for Outrage, the public interest at issue is
not the protection of minor victims of sexual assault, but rather of minor sexual assailants.
Arkansas precedent is quite clear that disseminating information—even false
information—about an adult suspect’s role in alleged criminal: conduct is not the sort of
“extreme and outrageous” behavior that suffices to meet the “extremely narrow test” for
outrage. See, e.g., Patrick v. Tyson Foods, Inc., 2016 Ark. App. 221, at *18; Sawada v. -
Walmart Stores, Inc., 2015 Ark. App. 549, at *15-*16. The Court is unaware of any
Arkansas cases addressing whether the same is true when the criminal suspect in
question was a minor at the time of the alleged offense. Certainly, there are laws

reflecting a public policy in favor of protecting the identities of such minors. See, e.g.,

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Ark. Code Ann. § 9-27-309(j) (“Records of the arrest of a juvenile, the detention of a
juvenile, proceedings under this subchapter, and the records of an investigation that is
conducted when the alleged offender is an adult and relates to an offense that occurred
when the alleged offender was a juvenile shall be confidential and shall not be subject to
disclosure under the [FOIA], unless: (1) Authorized by a written order of the juvenile
division of circuit court; (2) The arrest or the proceedings under this subchapter result in
the juvenile’s being formally charged in the criminal division of circuit court for a felony; or

(3) As allowed under this section or § 9-27-320.”). But the question here is not simply

whether such a public policy exists;~but rather-whether our laws and society place sueh- -

importance on it that running afoul of that policy would constitute “the most heinous
conduct.” This Court does not believe the Arkansas Supreme Court would answer that
question in the affirmative, see Marvin Lumber and Cedar Co. v. PPG Indus., Inc., 223
F.3d 873, 876 (8th Cir. 2000) (“Where the state law is uncertain, our task is to predict how
the state supreme court would resolve the issue if faced with it.”), given the general lack
of protection that the tort of Outrage provides to individuals who are publicly and falsely
accused of crimes.

In summary, Plaintiff Joshua Duggar has failed to plead facts sufficient to state any
actionable claims against any of the Duggar Springdale and Washington County
Defendants. Accordingly, those Defendants’ Motions to Dismiss will be GRANTED, and
all of his claims against them will be DISMISSED WITHOUT PREJUDICE.

D. Motions to Consolidate and to Stay
Given the foregoing, as well as this Court’s prior rulings, it would now appear that

the only remaining Defendants in the Dillard Case are the Springdale and Washington

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County Defendants, and that the only remaining Defendant in the Duggar Case is the
State of Arkansas Department of Human Services—which has not yet made any filings
in the Duggar case, and appears not to have been served with a copy of the Complaint.
See Case No. 5:17-cv-5125, Doc. 59. Thus, there are no longer any common parties
between these two cases. Accordingly, all pending Motions to Consolidate in both cases
are now MOOT.

The Bauer Defendants have a pending Motion to Stay in the Dillard Case, but since
they are being dismissed, that Motion is also now MOOT. The Dillard Springdale and
Washington County Defendants recently filed Motions to Stay the proceedings in the -
Dillard Case, pending resolution of interlocutory appeals from this Court’s partial denial
of their motions to dismiss in that case. However, those Motions to Stay are not yet ripe
for decision, because the Dillard Plaintiffs have not yet had an opportunity to respond to
them. Accordingly, the Court will take no action on them at this time.

Finally, the Court notes that it previously scheduled Case Management Hearings
to be held in these two cases on October 13, 2017. Given that the only Defendant
remaining in the Duggar Case has not even been served with the Complaint, the Court
sees no point in holding the Case Management Hearing in that case. As for the Dillard
Case, the only remaining Defendants there are the Dillard Springdale and Washington
County Defendants, some of whom have recently filed interlocutory appeals, and all of
whom are seeking a complete stay of the proceedings in this case pending the resolution
of those appeals. The Court believes the most efficient use of everyone’s time would be
to cancel the Case Management Hearing in the Dillard Case until it has ruled on those

Motions to Stay, which presumably will ripen within roughly a week or so. If the Court

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denies those Motions to any extent, then it will promptly set a Case Management Hearing

in the Dillard Case.

IV. CONCLUSION

IT 1S THEREFORE ORDERED that in the case of Dillard et al. v. City of Springdale

et al., Case No. 5:17-cv-5089:

the Bauer Defendants’ Motion to Dismiss (Doc. 43) is GRANTED;

the Dillard Springdale Defendants’ Motion to Consolidate (Doc. 41) is MOOT;

the Bauer Defendants’ Motion to Consolidate (Doc. 48) is MOOT;

the Bauer Defendants’ Motion to Stay (Doc. 46) is MOOT; and

all of the Plaintiffs’ claims against Defendants Bauer Publishing Company, L.P.;
Bauer Magazine, L.P.; Bauer Media Group, Inc.; Bauer, Inc.; Heinrich Bauer North
America, Inc.; and Bauer Media Group USA, LLC are DISMISSED WITHOUT
PREJUDICE.

IT IS FURTHER ORDERED that in the case of Duggar v. City of Springdale et al.,

Case No. 5:17-cv-5125:

the Bauer Defendants’ Motion to Dismiss (Doc. 40) is GRANTED;

Cross Gunter’s Motion to Dismiss (Doc. 33) is GRANTED;

the Duggar Springdale Defendants’ Motion to Dismiss (Doc. 15) is GRANTED;
the Duggar Washington County Defendants’ Motion to Dismiss (Doc. 25) is
GRANTED;

the Duggar Springdale Defendants’ Motion to Consolidate (Doc. 17) is MOOT;

the Bauer Defendants’ Motion to Consolidate (Doc. 27) is MOOT; and

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e all of Plaintiff Joshua Duggar’s claims against Defendants City of Springdale,
Arkansas; Washington County, Arkansas; Doug Sprouse, in his official capacity;
Kathy O’Kelley, in her official and individual capacity; Ernest Cate, in his official
capacity; Rick Hoyt, in his official capacity; Steve Zega, in his official capacity;
Bauer Publishing Company, L.P.; Bauer Magazine, L.P.; Bauer Media Group, Inc.;
Bauer, Inc.; Heinrich Bauer North America, Inc.; and Bauer Media Group USA,
LLC are DISMISSED WITHOUT PREJUDICE.

The Case Management Hearings currently set to be held in these cases on

October 13, 2017 will be TERMINATED by separate order.

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TIMOTHY Ly BROQGKS
NIFED STATES/DISTRICT JUDGE

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IT IS SO ORDERED on this

 

 

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